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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


KIM TURNER,                    )
                               )
               Plaintiff,      )
                               )                   CIVIL ACTION
vs.                            )
                               )                   FILE No. 3:19-CV-02015
AMPEX HOLDINGS OF DALLAS, LLC, )
                               )
               Defendant.      )


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

     Plaintiff, KIM TURNER (“Plaintiff”) and Defendant, AMPEX HOLDINGS OF DALLAS,

LLC (“Defendant”), by and through undersigned counsel and pursuant to Rule 41(a)(1)(A)(ii) of

the Federal Rules of Civil Procedure, hereby jointly stipulate to the dismissal of Defendant,

AMPEX HOLDINGS OF DALLAS, LLC, and this entire Action with prejudice. Each party to

bear their own fees and costs.

           Respectfully submitted this 10th day of March, 2020.



                                           Law Offices of
                                           THE SCHAPIRO LAW GROUP, P.L.

                                           /s/ Douglas S. Schapiro
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                                          /s/     Arthur V. Lambert________________
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                              CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 10th day of March, 2020, we electronically filed the

forgoing with the Clerk of the Court by using the CM/ECF system.


                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro
                                          Northern District of Texas ID No. 54538FL
